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        EXHIBIT 18
4/9/23, 3:02 PM          Case   1:23-cv-03032-MKV
                         Kevin McCarthy                          Document
                                        on Twitter: "Alvin Bragg has              12-19 ourFiled
                                                                     irreparably damaged    country04/11/23
                                                                                                    in an attempt toPage
                                                                                                                     interfere2inof
                                                                                                                                  our2Presidential election. …

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                  Alvin Bragg has irreparably damaged our country in an attempt to interfere
                  in our Presidential election.                                                                              Sign up with Google

                  As he routinely frees violent criminals to terrorize the public, he
                  weaponized our sacred system of justice against President Donald Trump.                                    Sign up with Apple

                  The American people will not tolerate this injustice, and the House of
                                                                                                                             Create account
                  Representatives will hold Alvin Bragg and his unprecedented abuse of
                  power to account.
                                                                                                           By signing up, you agree to the Terms of Service and
                  6:51 PM · Mar 30, 2023 · 9.5M Views                                                      Privacy Policy, including Cookie Use.



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                           David Weissman            @davidmweissman · Mar 30                                          Speaker of the House and
                           Replying to @SpeakerMcCarthy                                                                Representative of California's 20th
                           Trump deserves to be held accountable, he is not above the law, you are                     District in the House of
                           such a disgrace to the office, you turned your back to your oath and to the                 Representatives.
                           Constitution.

                               1,742             877             9,932           200.5K
                                                                                                            What’s happening
                           Onikepe Adegbola MD PhD      @oadegbolamdphd · Mar 30
                                                                                                            MLB · LIVE
                           Replying to @davidmweissman and @SpeakerMcCarthy
                                                                                                            Mariners at Guardians

                                   Scott Adams         @ScottAdamsSays · Mar 28
                             "No one is above the law" is one of the dumbest opinions one can have.
                                                                                                            Trending in United States
                             It always misses the point.
                                                                                                            Pete Davidson
                                                                                                            16.5K Tweets
                             Everyone is above imaginary crimes and trumped up charges. Everyone
                             is above political prosecutions. Everyone is above over-charging.
                                                                                                            Music · Trending
                             twitter.com/PoliticusSarah…
                                                                                                            #EXOCLOCK_EXO_FANMEETING
                                                                                                            284K Tweets
                               41             14                152             101.7K

                                                                                                            Sports · Trending
                           Greg Prouty, Pharm.D.         @gprouty · Mar 30                                  Khamzat
                           Replying to @SpeakerMcCarthy                                                     7,352 Tweets
                           Bragg doesnt report to the House and you have no authority over him,.
                                                                                                            Politics · Trending
                               162               131             1,948            28.2K
                                                                                                            Greg Abbott
                                                                                                            95.2K Tweets
                           Dave Weinbaum       @TheDaveWeinbaum · Apr 4
                           Replying to @gprouty and @SpeakerMcCarthy
                                                                                                            Show more
                           Wrong! Bragg bragged about using Federal taxpayer $$$. That puts it right
                           in Congresses hands #Trump2024NowMorethanEver
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                               1                 5               10              425
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